        Case 1:21-cr-00022-CKK Document 19-1 Filed 03/10/21 Page 1 of 3




                                                          U.S. Department of Justice

                                                          Channing D. Phillips
                                                          Acting United States Attorney

                                                          District of Columbia


                                                          Judiciary Center
                                                          555 Fourth St., N.W.
                                                          Washington, D.C. 20530


                                                        March 10, 2021

Vila Email
Brent Mayr
Mayr Law, P.C.
Houston Office:
5300 Memorial Drive, Suite 750, Houston, TX 77007
The Woodlands Office:
1095 Evergreen Cir., Suite 200, The Woodlands, TX 77380
bmayr@mayr-law.com

       Re:        United States v. Christopher Grider
                  Case No. 1:21-cr-00022-KBJ

Dear Counsel:

       Enclosed as preliminary discovery in this case, via filesharing, are the following
materials:

             1.  Signed Complaint
             2.  Signed Redacted Complaint
             3.  Signed Affidavit Supporting Complaint
             4.  Signed Arrest Warrant, and Arrest Warrant Return
             5.  Indictment
             6.  16 Screenshots of Defendant from Affidavit, Facebook Search Warrant,
                 and Response to Motion for Revocation
             7. NCIC Report
             8. Law Enforcement Individual Report
             9. Preservation letter
             10. Debrief letter
             11. 4 Open-Source Articles
             12. Phone Search Warrant and Application
             13. Vehicle Search Warrant and Application, and Return
             14. Residence Search Warrant and Application, and Return
             15. AT&T Subpoena Returns
         Case 1:21-cr-00022-CKK Document 19-1 Filed 03/10/21 Page 2 of 3




           16. Apple Subpoena Returns
           17. Facebook Subpoena Returns
           18. Facebook Search Warrant and Application, Return, and FBI Collected
               Item Log
           19. Facebook Search Warrant Results (1 PDF, 90 linked media files)
           20. Two 302s for Crystal Grider
           21. U.S. Capitol Police footage (15 files, zipped)
           22. Video of KWTX Interview of Defendant
           23. Open-Source Videos (10 files, zipped)
           24. 2 Videos from “bgonthescene”

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

       This material is subject to the terms of the Protective Order issued in this case.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

       I will forward additional discovery as it becomes available. If you have any questions,

                                                 2
         Case 1:21-cr-00022-CKK Document 19-1 Filed 03/10/21 Page 3 of 3




please feel free to contact me.

                                            Sincerely,


                                            _______________________
                                            Candice C. Wong
                                            Assistant United States Attorney
                                            202-252-7849
                                            Candice.wong@usdoj.gov




                                        3
